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HAWAI‘T DISABILITY RIGHTS CENTER

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

Wicd 00297 ACKLKSC

HAWAI'I DISABILITY RIGHTS CIVIL NO.
CENTER, a Hawai‘i corporation;

Plaintiff,
VS. COMPLAINT FOR
DECLARATORY AND
DEPARTMENT OF EDUCATION, INJUNCTIVE RELIEF;
State of Hawai‘i; and KATHRYN SUMMONS

MATAYOSHI, NORMAN PANG,
JESSICA HONBO, and MICHAEL
NAKASATO in their respective official
capacities;

Defendants.

 

 
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COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
I, INTRODUCTION

1. Plaintiff HAWAI‘I DISABILITY RIGHTS CENTER ("HDRC")
brings this action to compel Defendants to provide any and all investigation
records to HDRC pertaining to the alleged abuse and neglect of a special education
student by a Department of Education employee on or around July of 2011 at Pearl
City Highlands Elementary School.

2. Defendants DEPARTMENT OF EDUCATION, State of Hawai‘i;
KATHRYN MATAYOSHEL, in her official capacity as Superintendent of the
Hawai‘i Department of Education; NORMAN PANG, in his official capacity, and
JESSICA HONBO in her official capacity; and MICHAEL NAKASATO, in his
official capacity (collectively, the “Defendants” or “DOE”), have rejected or
blocked HDRC’s attempts to access the investigation records pertaining to said
incident.

3, HDRC, as a Congressionally-mandated Protection and Advocacy
System, is authorized to access DOE investigative records in order for it to
effectively investigate alleged abuse and neglect.

4, Federal Protection and Advocacy (P&A) statutes, including but not
limited to the Developmental Disabilities Assistance and Bill of Rights Act ("DD

Act"), 42 U.S.C. §§ 15043 (a)(2)(H)-(), provide HDRC with broad investigatory
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authority, including access to certain records. The DD Act authorizes HDRC, as a
P&A system, to investigate incidents of abuse or neglect of individuals when it
receives complaints or determines that there is probable cause to believe that
individuals have been, or may be, subject to abuse or neglect. 42 U.S.C. §
15043(a)(2)(B); 45 C.F.R. § 1386.22.

5. The DD Act permits HDRC to have access to an individual's records
upon the consent of the individual or his or her guardian and in certain emergency
situations. 42 U.S.C. § 15043(a)(2); 42 C.F.R. § 1386.22. The investigation
records requested by HDRC should be part of the Student’s individual records.

6. The Student’s parent has consented in writing to HDRC’s review of
said records.

Il. JURISDICTION

7. This Court has jurisdiction over the parties and claims pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4). This Court is authorized to order the
requested relief by these statutes and by 28 U.S.C. §§ 2201 and 2202.

8, Any and all state law claims contained herein arise from a common
nucleus of operative facts to form part of the same case or controversy, and
therefore fall within the Court's supplemental jurisdiction pursuant to 28 U.S.C. §

1367.
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Il. VENUE

9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(6)(1),
since all Defendants reside in and/or maintain its place of business in the District
of Hawai‘i.

IV. PARTIES

10. Plaintiff HAWAI‘I DISABILITY RIGHTS CENTER, a Hawai‘i
corporation, is the state's designated protection and advocacy system that is
charged with protecting the civil rights of people with developmental disabilities,
pursuant to the federal DD Act and other P&A statutes.

11. Defendant DEPARTMENT OF EDUCATION, State of Hawai‘i, is
the State Educational Agency responsible for the provision of a public education
for children with disabilities pursuant to IDEA and corresponding state laws and
regulations.

12. Defendant KATHRYN MATAYOSHI (“Matayoshi”) is sued in her
official capacity as Superintendent of the Department of Education. She is
responsible for the management of the DOE and ensuring its full compliance with
state and federal laws.

13. Defendant NORMAN PANG (“Pang”) is sued in his official capacity
as the Leeward District Complex Area Superintendent of the Department of

Education. He is responsible for ensuring that Pearl City Highlands Elementary
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School maintains full compliance with state and federal laws.

14. Defendant JESSICA HONBO (“Honbo”) is sued in her official
capacity as Personnel Specialist for the Leeward District Complex of the
Department of Education. She is responsible for ensuring that personnel records
and investigation reports are in full compliance with state and federal laws. Upon
information and belief, Defendant Honbo conducted an investigation of the alleged
abuse of a special education student by a DOE employee, which was reported in an
anonymous complaint letter.

15. Defendant MICHAEL NAKASATO (‘“Nakasato”) is sued in his
official capacity as Principal of Pearl City Highlands Elementary School. He is
responsible for ensuring the school’s full compliance with state and federal laws.

BACKGROUND AND FACTS

16. HDRC is congressionally mandated to investigate allegations of abuse
and neglect at public and private institutions (including Pearl City Highlands
Elementary School, a Hawai‘i public school) as part of its advocacy for the rights
of people with disabilities who attend and participate in those facilities. 42 U.S.C.
§ 15043.

17. DOE isa provider of educational programs, including but not limited
to Special Education and related services for individuals with developmental

disabilities.
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18. Pearl City Highlands Elementary School is a "facility" as that term is
defined under the DD Act. 45 C.F.R. § 1386.19.

19. Pearl City Highlands Elementary School is a facility that is subject to
the investigative authority of HDRC. 42 U.S.C. § 15043; 45 C.F.R. §§ 1386.19
and 1386.22.

20. Onor around July 2011, Principal Nakasato received an anonymous
complaint letter that alleged that a “student in a wheelchair” at Pearl City
Highlands Elementary School had been subjected to alleged abuse and neglect by a
DOE employee. Upon information and belief, the author had observed the teacher
or aide yelling at, swearing at, and pulling the hair of a child in a wheelchair.

21. Principal Nakasato subsequently telephoned the parents of the
allegedly abused Student to inform the parents of the allegations contained in the
anonymous letter.

22. Upon information and belief, the Student is the only individual who
uses a wheelchair on the school campus.

23. Out of concern for their child’s safety in school, the Student’s parents
requested to see the anonymous letter and related investigation reports on or
around July 2011. The requests were made at different times to Defendants

Nakasato and Honbo, who rejected all such requests by the parents.
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24. The Student’s parents contacted HDRC for assistance in investigating
the allegations of abuse and neglect, the school’s response to the anonymous
report, the final determination of the validity of the allegations, and to monitor the
effects of the abuse and neglect, if any, on their child’s special education
programming.

25. On August 5, 2011, an HDRC Advocate provided a written notice to
Pearl City Highlands Elementary School that HDRC had received a complaint
concerning the alleged incident of abuse and neglect of a student with disabilities,
and requested to review the entire file on the investigation, including but not
limited to, the anonymous letter received by Principal Nakasato, notes, interviews,
and correspondence including e-mail (collectively, the “investigation records”).
The request was accompanied by an authorization to release information signed by
the Student’s parent.

26. To date, the Defendants have denied HDRC's request by failing to
promptly provide HDRC with the requested information concerning the school’s
investigation of the alleged abuse and neglect incident. 42 C.F.R. § 1386.22(4).

27. The DD Act regulation requires that if a protection and advocacy
system is denied access to records covered by the DD Act, it shall be promptly
provided with a written statement of reasons. 45 C.F.R. § 1386.22(i). To date, this

has not occurred.
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28. In three separate written letters dated August 5, 2011, August 22,
2011, and December 1, 2011, in addition to numerous e-mail inquiries, HDRC
declared that it had probable cause to suspect abuse and neglect of a student with
disabilities, informed the DOE of its obligation under the DD Act to investigate the
allegations, and reiterated its request to provide the investigation records.

29. On separate occasions, the HDRC Executive Director contacted
Defendants Pang and Honbo by telephone to request access to the requested
investigation records because there was probable cause to believe that individuals
with disabilities have been, or may be, subject to abuse or neglect.

30. Upon each written or verbal request, DOE has denied HDRC access to
the requested investigation records.

31. To date, HDRC and the Student’s parents have not been informed of
the exact nature of the allegations, whether the abuse and neglect allegations were
determined to be true, and if true, what actions were taken by DOE to protect the
Student, whether the Student will be further exposed to the DOE employee who is
alleged to have inflicted the physical and psychological abuse, and the effects of
the abuse upon the Student’s special education programming.

32. Inorder to fulfill its congressional mandate to protect and advocate
for persons with developmental disabilities and mental illness, HDRC has the

authority to pursue legal remedies. 42 U.S.C. § 15043.
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CLAIM

33. The allegations in paragraphs 1 through 32 of this Complaint are
incorporated and re-alleged as though fully set forth herein.

34. The Defendants’ individual and collective refusal to provide
investigation records results in the denial of access to records pursuant to an
investigation of alleged abuse and neglect, which violates HDRC's access authority
under the DD Act. 42 U.S.C. §§ 15043(a)(2)(I)(iii), 45 C.F.R. § 1386.22(a)(3).

DEMAND FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

A. — Assume jurisdiction over this matter;

B. Declare that Defendants’ conduct violates the DD Act;

C. Order Defendants to provide HDRC with the requested investigation
records;

D. Award to Plaintiff its costs and reasonable attorney’s fees; and

E. For such other relief as this Court deems just, equitable and
appropriate.

DATED: Honolulu, Hawai‘i, May 23, 2012.

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LOUIS ERTESCHIK

Attorneys for Plaintiff
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